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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION



BRENDA L. IVY
and KEITH M. IVY,


           Plaintiffs,

v.                                              Cv. No.: 12-2339-JTF


LEA BANNISTER, M.D., and
MEMPHIS OBSTETRICS & GYNECOLOGICAL
ASSOCIATION, P.C.,

             Defendants.


                               JUDGMENT

     JURY VERDICT. This action came before the Court for a trial by
jury. The issues have been tried and the jury has rendered its
verdict.

     IT IS SO ORDERED AND ADJUDGED that in accordance with the jury
verdict, rendered on October 1, 2013, judgment is hereby entered for
Plaintiffs, Brenda L. Ivy and Keith M. Ivy, and against Defendants,
Lea Bannister, M.D. and Memphis Obstetrics & Gynecological
Association, P.C., Plaintiff Brenda L. Ivy, is awarded the amount of
$4,000,000.00 and Plaintiff Keith M. Ivy is awarded the amount of
$350,000.00 in damages. The cause is hereby dismissed.



APPROVED:

s/John T. Fowlkes, Jr.
JOHN T. FOWLKES, JR.                    THOMAS M.GOULD
UNITED STATES DISTRICT JUDGE            CLERK

October 4, 2013                         s/Lorri Fentress
DATE                                    (By) LAW CLERK
